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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GRIGORIY ZAGERSON,

                          Plaintiff,

                   -v.-                             20 Civ. 11055 (KPF)

NEW YORK CITY DEPARTMENT OF                        ORDER OF SERVICE
EDUCATION; BERNADETTE TOOMEY,
PRINCIPAL OF PS 195,

                          Defendants.

KATHERINE POLK FAILLA, District Judge:

      Plaintiff, who is proceeding pro se, paid the filing fees to commence this

action.

      The Clerk of Court is directed to issue summonses as to Defendants New

York City Department of Education and Bernadette Toomey, Principal of P.S.

195. Plaintiff is directed to serve the summons and complaint on each

Defendant within 90 days of the issuance of the summonses. If within those

90 days, Plaintiff has not either served Defendants or requested an extension of

time to do so, the Court may dismiss the claims against Defendants under

Rules 4 and 41 of the Federal Rules of Civil Procedure for failure to prosecute.

      The Clerk of Court is directed to mail a copy of this Order to Plaintiff,

together with an information package.

      SO ORDERED.

Dated: January 11, 2021
       New York, New York

                                               KATHERINE POLK FAILLA
                                              United States District Judge
